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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                         AMARILLO DIVISION


ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its member
organizations, their members, and these
members’ patients, et al.,
                                            Case No. 2:22-cv-00223-Z
           Plaintiffs,

      v.

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

           Defendants.

  PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR MOTION FOR
                 PRELIMINARY INJUNCTION
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                                 INTRODUCTION

      Plaintiff medical associations and doctors sued the FDA because it has

harmed women and girls by approving chemical abortion drugs and removing

commonsense safeguards. Plaintiff doctors treat and care for countless victims of

this dangerous drug regimen. After stonewalling Plaintiffs for nearly two decades,

the FDA admitted what Plaintiffs have been saying all along: the agency never

required or relied on a single study that evaluated the safety and effectiveness of

these drugs under real-world conditions. Without these vital studies, the harms

that these drugs inflict on women are a heartbreaking, yet unsurprising, reality.

      The FDA also effectively conceded that its actions violated the plain letter of

its regulations and federal laws. No amount of imaginative argumentation can

create ambiguity in clearly written text or ignore what the words require: the FDA’s

accelerated drug approval authority applies only to new drugs that treat “illnesses,”

but pregnancy is not an illness; the Federal Food, Drug, and Cosmetic Act (FDCA)

requires substantial evidence, adequate testing, and sufficient information that

show a drug’s safety and effectiveness “for use under the conditions prescribed,

recommended, or suggested in the proposed labeling,” but the FDA never had any

such evidence under the labeled conditions; and longstanding federal criminal laws

prohibit the distribution of chemical abortion drugs by postal mail, common carrier,

or express service, but the FDA approved openly non-compliant distribution plans.

      Given these dispositive concessions, the FDA spends most of its brief

retreating to procedural arguments. But they are fruitless. Binding judicial

precedent—and indeed, the FDA’s own declarations—support each Plaintiff ’s

standing. The FDA’s actions have repeatedly reopened and revised the conditions

that served as the basis for the agency’s 2000 decision to approve chemical abortion

drugs, thus resetting the statute of limitations to challenge the approval each time.

And Plaintiffs complied with any duty to exhaust administrative remedies.


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         Preventing irreparable harm to women and their doctors outweighs the

profits that the abortion industry may lose. Chemical abortions do not improve

health outcomes and often worsen them. Pls.’ App. 225–38, 398–488 (App.). And the

public interest in protecting the health of women must also trump the Biden

administration’s shocking argument that chemical abortion benefits society because

it eradicates children who may “have lower earnings as adults, poorer health, and

an increased likelihood of criminal involvement.” Ex. 2 to FDA Br., Lindo Decl.,

¶ 20. Leaning into the eugenic ideologies of the past is never in the public interest.

         Because the FDA refuses to comply with the law and prioritizes politics over

science, Plaintiffs ask the Court to grant their motion for a preliminary injunction

and end the harms that chemical abortion drugs wreak on women in this country.

                                     ARGUMENT

         Plaintiffs meet the requirements for a prompt preliminary injunction.
I.       This Court has jurisdiction over Plaintiffs’ claims.
         A.    Plaintiffs have standing.
         Plaintiffs have standing six ways from Sunday.
               1.    Organizational standing
         Organizational standing exists here. As the FDA’s own cases concede, “the

Supreme Court and the Fifth Circuit have repeatedly acknowledged[ ] [that] [a]n

entity can show an organizational injury by alleging that it must divert resources

from its usual activities in order to lessen the challenged restriction’s harm to its

mission.” La Union del Pueblo Entero v. Abbott, No. 5:21-CV-0844-XR, 2022 WL

3052489, at *32 (W.D. Tex. Aug. 2, 2022) (cleaned up). Because of the FDA’s actions

on chemical abortion drugs, Plaintiff organizations have “calibrated [their] outreach

efforts to spend extra time and money educating [their] members” about the

dangers of such drugs. See OCA-Greater Houston v. Texas, 867 F.3d 604, 610 (5th

Cir. 2017). For decades, these associations have been diverting crucial resources to



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challenge the FDA’s actions to legalize and deregulate dangerous chemical abortion

drugs. App. 091–93. They have been forced to divert “time, energy, and resources”

away from their medical mission in order to “conduct[ ] their own studies and

analyses of the available data” on chemical abortion. Id. 091. Plaintiffs engaged in

these activities in response to the FDA’s approval of chemical abortion drugs—long

before the FDA gutted its adverse event reporting requirements—and in response to

its removal of necessary safeguards.

       The FDA says that Plaintiffs must “identify” an “Article III injury that their

alleged diversion of resources is necessary to avoid.” FDA Br. at 14. But an

organization suffers an Article III injury, where, as here, its ability to pursue its

mission is “perceptibly impaired” because of a “significant” diversion of “resources to

. . . counteract the defendant’s [conduct].” Havens Realty Corp. v. Coleman, 455 U.S.

363, 379 (1982); 13A Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 3531.9.5 (3d ed. 2022) (standing where “organization has devoted

specific effort and expense to combat the challenged activity”).

       The FDA also faults Plaintiffs for not identifying specific forgone projects.

FDA Br. At 15. But the Fifth Circuit has already rejected such a requirement and

held that an Article III injury exists whenever an organization goes “out of its way

to counteract the effect of [unlawful government action]” with a view “toward

mitigating its real-world impact on [its] members and the public.” OCA-Greater

Houston, 867 F.3d at 612. Here, for example, Plaintiffs have standing because they

have “undert[aken] to educate [patients and doctors] about [the dangers of chemical

abortion drugs]—an undertaking that consumed . . . time and resources in a way

they would not have been spent absent [FDA’s approval].” Id. Plaintiffs’ “injury-in-

fact is the ‘additional time and effort spent explaining [the dangers of chemical

abortions]’” because such efforts “frustrate[ ] and complicate[ ] [their] routine

[medical] activities.” Id. at 610. In all events, Plaintiffs’ allegations are specific and


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supported by evidence: Plaintiffs attest that they have been forced to divert

valuable resources away from other advocacy and educational efforts, including

efforts over “the dangers of surgical abortion, the conscience rights of doctors, and

the sanctity of life at all stages.” App. 091–93. The Court must also “assume, for

purposes of the standing analysis,” that the Plaintiffs are “correct on the merits” of

their claims, including their organizational injuries. Texas v. Equal Emp.

Opportunity Comm’n, 933 F.3d 433, 447 (5th Cir. 2019)

      The FDA also labels Plaintiffs’ injuries as “self-inflicted.” FDA Br. at 14.

Quite the contrary, the FDA itself has inflicted the injuries on Plaintiffs. Indeed, the

FDA’s approval and deregulation of chemical abortion drugs have harmed

Plaintiffs. App. 074–93. It was the FDA, not Plaintiffs, that established the citizen

petition process as the only formal means to request that the agency withdraw its

approval of a dangerous new drug or strengthen basic protections for an already-

approved drug. The FDA’s regulations required Plaintiffs to file citizen petitions in

making such requests. Plaintiffs dutifully complied and waited a combined 16 years

for the FDA to respond to their petitions. They have also sought to combat the

misinformation about the dangers of chemical abortion drugs through their own

research, outreach, and communications. The FDA essentially argues that Plaintiff

medical associations and their physicians can never have standing to sue and so

they must continue to be harmed by dangerous chemical abortion drugs without

recourse. That’s wrong as a matter of law and disgraceful as a matter of policy.
             2.     Associational standing
      Plaintiff medical organizations also have associational standing to bring

claims on behalf of their members, medical professionals who treat women harmed

by chemical abortion drugs, and on behalf of their members’ patients. See Tex. Ass’n

of Mfrs. v. U.S. Consumer Prod. Safety Comm’n, 989 F.3d 368, 377 (5th Cir. 2021).

The FDA never disputes that protecting women from dangerous chemical abortion


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drugs is germane to the organizational Plaintiffs’ purpose. Nor does the FDA

dispute that, if doctors have standing to sue on their own behalf, then they also

have standing to sue on behalf of their patients or that medical associations can sue

on behalf of their members and their members’ patients. FDA Br. at 13–14. Instead,

the FDA argues only that the physician members lack standing.

      The FDA is wrong. And, as shown below, Plaintiffs also have standing to sue

on behalf of themselves and their patients. Pls. Br. at 8.
             3.     Physician standing
      The FDA dismisses as “speculation” the harms to doctors flowing from the

agency’s approval of dangerous chemical abortion drugs and removal of safeguards

for women. Hardly. Plaintiffs’ complaint and supporting declarations specified

many injuries-in-fact that the FDA’s actions have inflicted on Plaintiff doctors and

their patients. App. 080–90; Pls. Br. at 8–10. Without a hint of irony, the FDA’s own

declarants assert that abortionists would suffer many of the same injuries if the

Court were to grant Plaintiffs’ motion. See, e.g., FDA Ex. 2, ¶¶ 17, 21, 50, 59; Ex. 4

to FDA Br., Kieltyka Decl. ¶ 37.

      In fact, the FDA concedes that Plaintiffs’ declarations have shown that

chemical abortion drugs have already harmed Plaintiffs. See FDA Br. at 11

(acknowledging the “existence of adverse events” and “incidents” from these drugs

among Plaintiff doctors’ patients and their medical practices).

      This should end the standing inquiry. Standing exists when harm has

already occurred. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

      Nevertheless, the FDA challenges the proximity of the causal link between

the FDA’s actions and Plaintiffs’ injuries, claiming that Plaintiffs’ patients could

still have been hurt from childbirth, pregnancy, or surgical abortion even if they

had not taken chemical abortion drugs. FDA Br. 10–11. But the Article III

“traceability standard is much lower than is the standard for proximate cause.”


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Jackson v. City of Dallas, No. 3:20-CV-00967-M, 2021 WL 3406728, at *2 (N.D. Tex.

Aug. 4, 2021), aff’d, No. 21-10888, 2022 WL 2156831 (5th Cir. June 15, 2022)

(citations omitted). Indeed, “an indirect causal relationship will suffice, so long as

there is a fairly traceable connection between the alleged injury in fact and the

alleged conduct of the defendant.” Id. (cleaned up). Plaintiffs’ injuries are more than

fairly traceable to the FDA’s actions: the FDA approved dangerous chemical

abortion drugs and removed basic safeguards; many women suffer serious adverse

events; and these women end up in Plaintiff doctors’ care.

      The statistical reality of these adverse events, App. 398–420, and Plaintiffs’

inability to avoid the burdens of treating women experiencing complications

underscore the Biden administration’s impermissible attempt to compel doctors to

complete elective chemical abortions under the 1986 Emergency Medical Treatment

and Labor Act (EMTALA), 42 U.S.C. § 1395dd. The likelihood of complications

ensures that Plaintiff doctors will inevitably have to treat women suffering from

incomplete chemical abortions, adding patients to emergency rooms who would

otherwise not be there if the FDA had not approved these drugs and then removed

basic safeguards. Being forced to perform or participate in elective abortions is an

unwanted effect on doctors cognizable under Article III. Texas v. Becerra, No. 5:22-

CV-185-H, 2022 WL 3639525, at *12 (N.D. Tex. Aug. 23, 2022).

      While the FDA callously calls such emergency procedures “one-off incidents”

(as if this is relevant to any legal analysis), FDA Br. at 11, they also cause Plaintiffs

to feel complicit in completing an elective abortion, causing them emotional and

spiritual distress. App. 085–86. The FDA says this emotional harm too is pure

speculation and that “no complaining physician alleges that he or she has ever been

forced to complete an unfinished elective abortion.” FDA Br. at 12. But Plaintiffs

submitted declarations from three doctors asserting just such an injury. See

App. 886 (needed to “perform[ ] a dilation and curettage procedure”); 085–86


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(required “to perform a suction aspiration to resolve [patient’s] complication.”); 195–

96 (left with “no choice but to perform an emergency D&C” despite detecting a fetal

heartbeat). The Supreme Court has also recognized that this mental distress, along

with Plaintiffs’ other actual emotional and psychological harms, App. 085–87, “could

suffice for Article III purposes.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2211

& n.7 (2021). And since Roe v. Wade, Congress has legislated to prevent physicians

from being pressured to abort. See 42 U.S.C. § 300a-7.

      The FDA also claims that Plaintiffs’ “declarations nowhere allege facts

plausibly showing that such one-off incidents interfere with Plaintiffs’ practices or

with the treatment of other patients.” FDA Br. at 11. But the FDA again ignores a

directly on-point declaration. See App. 196 (treating a woman for complication

required doctor “to call in a back-up physician to care for another critically ill

patient”). Finally, the FDA asserts that “no Plaintiff or medical association member

claims to consult with patients on whether they should take mifepristone.” FDA Br.

12–13. Once again, the FDA misses this testimony. See App. 195 (patient “expressed

to me that she was considering abortion . . . but was unsure”).

      The FDA implies that the very parties who profit from a dangerous drug—

(1) the companies that manufacture the drug and (2) the doctors who prescribe it—

comprise the narrow and unlikely universe of potential plaintiffs who can sue the

agency over an unlawful approval of that drug. See FDA Br. at 9. This is contrary to

the “strong presumption favoring judicial review of administrative action.” Salinas

v. U.S. R.R. Ret. Bd., 141 S. Ct. 691, 698 (2021). The FDA also argues that

“Plaintiffs’ approach to standing would entitle physicians to sue over virtually any

FDA action.” FDA Br. at 13. That argument ignores that the FDA’s approach would

essentially eliminate any suits over a wrongful drug approval, and it ignores that a

plaintiff must not only establish standing but also prove unlawful agency action.

Both are satisfied here.


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             4.     Third-party standing
      The FDA does not dispute that, if Plaintiffs have standing, then Plaintiffs

also have third-party standing to raise the claims of their patients. As shown above,

Plaintiffs themselves have standing. The FDA also does not dispute that third-party

standing exists when, as here, a plaintiff “share[s] a ‘close’ relationship with third-

parties who face an obstacle inhibiting them from bringing the claim on their own

behalf.” Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 748

F.3d 583, 589 (5th Cir. 2014) (quoting Kowalski v. Tesmer, 543 U.S. 125, 129–30

(2004)). Nor does the FDA dispute that Plaintiff physicians “share a sufficiently

close relationship with their patients” and a woman harmed by chemical abortion

drugs “faces obvious hindrances” in bringing a timely lawsuit. Id.

      The Supreme Court has observed that federal courts “have long permitted

abortion providers to invoke the rights of their actual or potential patients in

challenges to abortion-related regulations.” June Med. Servs. L.L.C. v. Russo, 140 S.

Ct. 2103, 2118 (2020), abrogated on other grounds by Dobbs v. Jackson Women’s

Health Org., 142 S. Ct. 2228 (2022); 13A Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 3531.9.3 (3d ed. 2022) (“Doctors regularly achieve

standing to protect the rights of patients and their own related professional

rights.”). Thus, in Jackson Women’s Health Org. v. Dobbs, the Fifth Circuit allowed

an abortion clinic to pursue claims on behalf of its patients. 945 F.3d 265, 275 (5th

Cir. 2019), rev’d and remanded, 142 S. Ct. 2228 (2022); see also Causeway Med.

Suite v. Ieyoub, 109 F.3d 1096, 1102 (5th Cir. 1997) (finding physician standing “to

assert the claims of those minors who seek abortions by way of a judicial bypass”). If

“a regulated party can invoke the right of a third party for the purpose of attacking

legislation enacted to protect the third party,” June Med. Servs., 140 S. Ct. at 2153

(Alito, J., dissenting), then Plaintiffs can certainly bring a lawsuit on behalf of their




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injured patients. Indeed, they both share the common interest in ensuring that the

FDA protects the American public from dangerous chemical abortion drugs.
             5.     Zone of interests
      In one last attempt to evade this Court’s review, the FDA asserts that

Congress has not created a cause of action that “encompasses a particular plaintiff’s

claim.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127

(2014). But the zone-of-interests test is not demanding. The “benefit of any doubt”

must go to the plaintiff and such a suit is foreclosed “only when a plaintiff’s

interests are so marginally related to or inconsistent with the purposes implicit in

the statute that it cannot reasonably be assumed that Congress authorized that

plaintiff to sue.” Id. (cleaned up). That “lenient approach” is necessary to preserve

the APA’s “generous review provisions.” Id.

      Plaintiffs are squarely within the FDCA’s zone of interests. When the FDA

approves drugs, doctors both prescribe them and treat patients for their effects.

Indeed, the FDA does not dispute that patients are within the zone of interests of

all federal drug laws. The FDCA’s mandates to “protect the public health,” Public

Law No. 87-781, 76 Stat. 780, “assure the safety, effectiveness, and reliability” of

drugs, id., and consider the “seriousness of any known or potential adverse events

that may be related to the drug,” 21 U.S.C. § 355-1(a)(1), are intended “to ensure

that the [FDCA] not be implemented haphazardly.” See Bennett v. Spear, 520 U.S.

154, 176 (1997). “Petitioners’ claim that they are victims of such a mistake is plainly

within the zone of interests that the provision protects”—considerations of specific

import to doctors who treat adverse events due to the unlawful approval or

deregulation of dangerous drugs. See id. at 177.
      B.     Plaintiffs’ claims are properly before the Court.
      Plaintiffs timely filed their challenges to the 2000 Approval and 2016 Petition

Denial because the statute of limitations was reset when the 2016 Major Changes


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and the 2021 Petition Response reopened the basic regulatory scheme for chemical

abortion drugs and removed necessary safeguards that were essential to the 2000

Approval and 2016 Petition Denial. In addition, for a host of reasons, Plaintiffs’

challenges to the 2000 Approval, 2016 Petition Denial, 2016 Major Changes, and

2019 ANDA Approval satisfy any exhaustion requirements. The 2021 Non-

Enforcement Decision remains subject to judicial review. And, as the FDA admits,

Plaintiffs’ challenge to the 2021 Petition Response is properly before this Court.
             1.     Reopening
      When issuing its 2000 Approval, the FDA included safeguards for women

who take chemical abortion drugs. But the FDA eviscerated these safeguards with

the 2016 Major Changes and then eliminated one of the few remaining protections

with the 2021 Petition Response. See App. 073. Without these safeguards, the FDA

would not have issued its 2000 Approval. The FDA does not dispute this fact.

      The FDA issued the 2016 Major Changes in response to Danco Laboratories,

LLC’s request to reconsider and revise the terms of the 2000 Approval. App. 616,

627–28. In this express reopening of the 2000 Approval (and the related 2016

Petition Denial), the FDA revised the drug regimen and removed the predicate

safeguards that served as basis for the initial approval. But the FDA still asserts

that it “did not reconsider the underlying approval of mifepristone when it modified

the REMS in 2016” because the 2016 Major Changes “made targeted alterations to

the conditions of approval for mifepristone.” FDA Br. at 19 (emphasis added).

Likewise, even though the FDA’s 2021 Petition Response authorized abortion-by-

mail by eliminating the safeguard of in-person dispensing, the FDA asserts that

“[i]n no way did the 2021 petition response reconsider the underlying approval of

mifepristone.” Id. The law and the facts belie the FDA’s contentions.

      “The reopener doctrine allows an otherwise untimely challenge to proceed

‘where an agency has—either explicitly or implicitly—undertaken to reexamine its


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former choice.’” Nat’l Biodiesel Bd. v. EPA, 843 F.3d 1010, 1017 (D.C. Cir. 2016)

(quoting Nat’l Mining Ass’n v. U.S. Dept. of Interior, 70 F.3d 1345, 1351 (D.C. Cir.

1995)). Indeed, “the time for seeking review starts anew where the agency reopens

an issue.” Sierra Club v. EPA, 551 F.3d 1019, 1024 (D.C. Cir. 2008). The FDA does

not dispute that the Fifth Circuit recognizes the well-established reopening

doctrine. FDA Br. at 19 (citing Texas v. Biden, 20 F.4th 928, 951 (5th Cir. 2021)).

The only question for the Court is whether the reopening doctrine applies here.

      When applying the reopening doctrine analysis, a court should determine

whether the agency “altered its original decision” and thus “reopened the

proceeding.” Sendra Corp. v. Magaw, 111 F.3d 162, 167 (D.C. Cir. 1997); see also

Nat’l Biodiesel Bd., 843 F.3d at 1017 (asking whether “the basic regulatory scheme

remains unchanged”). When an agency subsequently removes “necessary

safeguards” that were essential to an underlying action, that subsequent agency

action reopens the underlying action and restarts the statute of limitations to

challenge that underlying action. Sierra Club, 551 F.3d at 1025–26.

      The D.C. Circuit has unequivocally applied the reopening doctrine analysis to

adjudications. See, e.g., Nat’l Biodiesel Bd., 843 F.3d at 1012–18 (applying

reopening analysis to adjudication); Sendra Corp., 111 F.3d at 166–67 (same). And

for good reason—revising a prior adjudication involves a literal reopening of that

prior action. The FDA’s supplemental new drug approval process follows a similar

process as it both relies on and revises the prior approval. See App. 024–25;

21 C.F.R. § 314.71(b) (“the information required in the supplement is limited to that

needed to support the change”); 21 C.F.R. § 314.54 (“application need contain only

that information needed to support the modification(s) of the listed drug”).

      The 2016 Major Changes reopened and revised the 2000 Approval and 2016

Petition Denial by: (1) increasing the maximum gestational age from 49 days to 70

days; (2) allowing non-doctors to perform chemical abortions; (3) eliminating the


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requirement for an in-person follow-up examination after a chemical abortion;

(4) removing the in-person administration requirement of misoprostol;

(5) decreasing mifepristone dose from 600 to 200 mg while increasing misoprostol

dose from 400 mcg to 800 mcg; (6) changing the administration of misoprostol from

vaginal to buccal; (7) allowing administration of misoprostol at 24–48 hours instead

of 48 hours after mifepristone; (8) adding a repeat 800 mcg buccal dose; and

(9) abolishing the requirement for prescribers to report non-fatal adverse events

from chemical abortion. App. 627–28. The FDA changed almost every significant

facet of the 2000 Approval’s scheme. The “basic regulatory scheme” was

dramatically altered, Nat’l Biodiesel Bd., 843 F.3d at 1017, and indeed there were

few “targets” remaining. And yet the FDA was not finished.

      The 2021 Petition Response reflected the FDA’s final determination to

remove the in-person dispensing requirement for mifepristone—effectively

authorizing mail-order chemical abortions. Without requiring an abortionist to meet

with a woman in a clinical setting prior to prescribing her chemical abortion drugs,

there is a dramatically reduced chance that the prescriber can confirm pregnancy

and gestational age, discover ectopic pregnancies, and identify a victim of abuse or

human trafficking being coerced into having a chemical abortion. As with the 2016

Major Changes, the FDA would not have issued its 2000 Approval without the in-

person dispensing requirement because the agency considered it essential to assure

safe use of chemical abortion drugs. The FDA’s removal of this “necessary

safeguard[ ]” restarted the statute of limitations. Sierra Club, 551 F.3d at 1025–26.

      Both the 2016 Major Changes and the 2021 Petition Response removed

necessary safeguards that were essential to the 2000 Approval and 2016 Petition

Denial. Thus, both the 2016 Major Changes and the 2021 Petition Response

reopened the 2000 Approval and 2016 Petition Denial, each time resetting the

statute of limitations to sue the FDA over the initial approval. Under 21 C.F.R.


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§ 10.45(b), the 2016 Major Changes became a final agency action subject to judicial

review only upon issuance of the 2021 Petition Response. As a result, Plaintiffs are

well within the six-year statute of limitations to challenge the 2000 Approval.
              2.     Administrative exhaustion of claims
        The FDA also argues some of Plaintiffs’ challenges are “unexhausted.” FDA

Br. at 16–18. Once again, the FDA’s protestations fail.
                     a)    The APA and Supreme Court precedent
        Neither the APA nor the Supreme Court requires exhaustion of

administrative remedies. The APA directs parties to exhaust administrative

remedies only if required by statute or an agency rule that “provides that the action

meanwhile is inoperative, for an appeal to superior agency authority.” 5 U.S.C.

§ 704; see also Darby v. Cisneros, 509 U.S. 137, 154 (1993) (emphasis in original)

(holding that exhaustion is required “only when expressly required by statute or

when an agency rule requires appeal before review and the administrative action is

made inoperative pending that review.”)1 No such statute or FDA rule exists. And

no cherry-picked, out-of-context quote from Darby or atextual decisions from other

circuits change this analysis. But the Court need not resolve this issue here. Widely

recognized exceptions to exhaustion requirements apply to Plaintiffs’ challenges.
                     b)    Exceptions to exhaustion
        Courts do not require exhaustion when: (1) an “agency action [ ] is patently in

excess of the agency’s authority”; (2) “it would have been futile to raise before the

agency”; or (3) the agency already “considered the issue.” Wash. Ass’n for Television

& Child. v. FCC, 712 F.2d 677, 682 (D.C. Cir. 1983) (cleaned up). The Fifth Circuit

has held that “there is a judicial exception to exhaustion when exhaustion would be

1If a person voluntarily initiates an administrative appeal, then the Court has
required exhaustion prior to filing a lawsuit. See, e.g., Interstate Com. Comm’n v.
Bhd. of Locomotive Eng’rs, 482 U.S. 270, 284–85 (1987). This is exactly what
Plaintiffs did while patiently waiting for the FDA to respond to their petitions.


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futile or inadequate.” Gardner v. Sch. Bd. Caddo Par., 958 F.2d 108, 112 (5th Cir.

1992). This “exception to the exhaustion requirement” is available “when the

plaintiff demonstrates that ‘it would be futile to comply with the administrative

procedures because it is clear that the claim will be rejected.”’ DCP Farms v.

Yeutter, 957 F.2d 1183, 1189 (5th Cir. 1992) (cleaned up). Given these exceptions,

Plaintiffs need not exhaust certain claims.

        First, as discussed above, the 2000 Approval is properly before this Court

because the FDA’s 2016 Major Changes and 2021 Petition Response reopened that

initial approval and reset the statute of limitations, thus satisfying any exhaustion

requirement. But it would have also been futile for Plaintiffs to include a challenge

to the 2000 Approval in their 2019 Citizen Petition because the 2016 Petition Denial

made “clear that the claim will be rejected.” See id.

        Second, Plaintiffs would be excused from any exhaustion requirement on

their claim that the FDA’s action violated longstanding federal criminal statutes

because the agency’s violation of these laws is patent and raising this claim with the

FDA would have been futile. As discussed in Section IIC, the FDA’s actions violate

the plain terms of these statutes. Federal agencies must comply with federal laws,

and no party need remind any agency of such an obligation. See FCC v. NextWave

Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003). Any citizen petition would also be an

exercise in futility because, since Plaintiffs filed this lawsuit, the FDA and the U.S.

Department of Justice have both considered and rejected Plaintiffs’ position.2

        Third, Plaintiffs have asked the Court to withdraw or suspend the 2019

ANDA Approval because it relied on the unlawful 2000 Approval and 2016 Major

2 App. 890, Memorandum from FDA on Review of Supplemental Drug Applications
Proposing Modifications to the Mifepristone REMS Program (Dec. 23, 2022); Ex. 1C
to FDA Br., Mem. Op. from the U.S. Dept. of Just. on the Application of the
Comstock Act to the Mailing of Prescription Drugs That Can Be Used for Abortions
to the General Counsel USPS (Dec. 23, 2022).


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Changes, thereby lacking the requisite showing of safety and effectiveness. Pls. Br.

at 21–23. Given the FDA’s 2016 Petition Denial and 2021 Petition Response, the

FDA would assuredly deny any citizen petition that Plaintiffs were to file in

challenging the 2019 ANDA Approval. Futility thus precludes any obligation to file

a citizen petition before challenging the 2019 ANDA Approval.
                    c)     2021 Non-Enforcement Decision
      The FDA does not argue that Plaintiffs’ challenge to the 2021 Non-

Enforcement Decision is unexhausted. Instead, the FDA asserts that this “challenge

would be foreclosed under Heckler v. Cheney” and is also “moot.” FDA Br. at 20. But

the presumption that non-enforcement policies are committed to agency discretion

by law does not apply “to agency actions that qualify as rules under 5 U.S.C.

§ 551(4).” Texas v. Biden, 20 F.4th at 985. And the 2021 Non-Enforcement Decision

expires only at the end of the COVID-19 Public Health Emergency. App. 715. The

FDA has submitted nothing that shows the agency has revoked this action.
II.   Plaintiffs have a substantial likelihood of success on the merits.
      The FDA’s actions to approve and deregulate chemical abortion drugs

violated the plain text of federal laws and the agency’s regulations. No amount of

imagination can redefine the relevant words or create confusion on what they mean.
      A.     The FDA violated the requirements of Subpart H.
      The FDA issued the 2000 Approval using its accelerated review authority

under 21 C.F.R. § 314.500, Subpart H, which applies to “certain new drug products

that . . . treat[ ] serious or life-threatening illnesses.” Conceding that pregnancy is

not illness, the FDA argues that the preamble to the Subpart H rule stated that this

pathway was also available for drugs that treat “conditions,” a term that FDA fails

to define. FDA Br. at 26. But the FDA has no answer for the legal principle that a

preamble cannot override clear regulatory text. See Cuomo v. Clearing House Ass’n,

557 U.S. 519, 533 (2009) (invalidating agency interpretation of regulation



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inconsistent with regulation’s text and statute). Nor does the FDA’s interpretation

get any deference. Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019) (holding a court

should not afford deference to agency interpretation unless regulation is genuinely

ambiguous). And under canons of interpretation, the FDA’s “argument is fatally

undermined principally not by what [the regulation] includes but by what it omits.”

Env’t Integrity Project v. EPA, 969 F.3d 529, 541 (5th Cir. 2020); see, e.g., 21. C.F.R.

§ 312.300(a) (FDA drug approval pathway including “disease or condition”). In the

end, the FDA is left with two unpersuasive defenses: (1) doubling down on its

preamble argument; and (2) asserting the Food and Drug Administration

Amendments Act of 2007 (FDAAA) supersedes the 2000 Approval.

      Contrary to the FDA’s assertion, the preamble did not expand the scope of

Subpart H beyond illnesses to include normal physiological processes such as

pregnancy. The FDA fails to provide the specific preamble text where the agency

purportedly “explained that Subpart H was available for serious or life-threatening

‘conditions.’” FDA Br. at 26. Based on Plaintiffs’ review of the FDA-cited Federal

Register page, the agency itself used “conditions” once in one paragraph to describe

depression and psychoses, but that same paragraph also twice called them

“diseases,” a term that is an actual synonym for “illnesses.” App. 494, 57 Fed. Reg.

58,942, 58,946 (Dec. 11, 1992). If anything, this example reveals why regulatory

text must always prevail over less precise preamble language.

      When Congress enacted the FDAAA, it directed that drugs with elements to

assure safe use, which had been previously approved under Subpart H, were

deemed to have in effect an approved risk evaluation and mitigation strategy

(REMS). Under the FDAAA, mifepristone, like many other approved drugs, was

deemed to have in effect a REMS because the FDA had determined that the drug

was dangerous for use without restrictions. In approving mifepristone under

Subpart H, the FDA necessarily determined that the drug could be safely used only


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if its distribution or use was modified or restricted. The FDAAA simply required

that such drugs, which had been granted accelerated approval with required safety

restrictions, needed continued measures in place to mitigate risks.

        Remarkably, the FDA contends that the implementation and approval of a

REMS in 2011 cured the errors in the FDA’s initial improper reliance on its Subpart

H authority. This argument disregards that the implementation of a REMS under

the FDAAA did not repeal or supplant the accelerated approval process under

Subpart H. Congress’s general reiteration that dangerous drugs should carry a

REMS in no way codified the FDA’s specific approval of mifepristone, and an agency

must defend its decisions based on its actual contemporaneous grounds for decision,

not on post-hoc rationalizations. DHS v. Regents of the Univ. of Cal., 140 S. Ct.

1891, 1909–10 (2020). The mere requirement of a REMS under the FDAAA could

not remedy the improper approval of chemical abortion drugs as a treatment for a

serious or life-threatening illness. Nor did it expand the universe of what could

qualify for approval under Subpart H.
        B.    The FDA violated the requirements of the FDCA.
        The FDCA requires that substantial evidence, adequate tests, and sufficient

information show the safety and effectiveness of a drug “for use under the

conditions prescribed, recommended, or suggested in the proposed labeling thereof.”

21 U.S.C. § 355(d); see also 21 C.F.R. § 312.21 (“Phase 3 studies . . . are intended . . .

to provide an adequate basis for physician labeling.”); Glossary, Weill Cornell

Medicine3 (“In Phase 3 studies, the drug is used the way it would be administered

when marketed.”).




3https://research.weill.cornell.edu/compliance/human-subjects-
research/institutional-review-board/glossary-faqs-medical-terms-lay-3 (last visited
Feb. 9, 2023).


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      Plaintiffs established that the clinical investigations for the FDA’s 2000

Approval failed to evaluate the conditions of use under the approved label. See Pls.

Br. at 18. In fact, these studies contained crucial safeguards that the FDA omitted

from the approved label. Id. Similarly, Plaintiffs explained that none of the studies

on which the FDA relied for its 2016 Major Changes aimed to evaluate the safety

and effectiveness of chemical abortion drugs under the proposed labeling. Id. at 19.

And the agency improperly took a piecemeal approach to evaluating the wholesale

changes to the regimen. Id. Finally, the 2021 Non-Enforcement Decision and 2021

Petition Response relied on the FDA’s admittedly unreliable Adverse Event

Reporting System (FAERS) and a handful of inadequate studies. Id. at 19–20.

      The FDA’s response? It’s all true. So, the agency resorts to arguing that the

FDCA does not require such studies and thus the Court must afford the agency

unfettered deference. FDA Br. at 21–25. But even “[d]eferring to an agency’s

exercise of its discretion . . . is not tantamount to abdicating the judiciary’s

responsibility under the Administrative Procedure Act to set aside agency actions

that are arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1491 (D.C. Cir. 1995)

(cleaned up). “To enable [the court] to fulfill [its] duty, an agency must cogently

explain why it has exercised its discretion in a given manner, . . . and that

explanation must be sufficient to enable us to conclude that the agency's action was

the product of reasoned decisionmaking.” Id. (cleaned up) (disagreeing with FDA’s

scientific conclusions).

      The FDA had multiple opportunities to explain why it deviated from the

FDCA’s requirements and how it concluded chemical abortion drugs were safe and

effective under the labeled conditions of use—despite relying solely on studies that

included significant differences from the proposed labeled uses. But the FDA failed

to provide a reasoned explanation for each of these actions.


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        In defending its 2000 Approval, the FDA claimed that clinical trials may be

“more restrictive” because “this additional level of caution is exercised until the

safety and efficacy of the product is demonstrated.” FDA Br. at 22–23. That may be

true for preliminary studies, but not for the pivotal Phase 3 studies on which the

FDA relies to approve a new drug. The FDA otherwise would be experimenting on

unsuspecting women in the real world. Indeed, the FDCA demands more from the

agency prior to approving a new drug. The FDA has also argued that an ultrasound

“does not ensure complete accuracy in dating a pregnancy” and “does not guarantee

that an existing ectopic pregnancy will be identified.” App. 579 (emphasis added).

But an ultrasound is the most accurate method to determine gestational age and the

best means to identify ectopic pregnancies.4 The mother’s health and safety depends

on the accuracy of these assessments. App. 044–45. The FDA thus lacked

substantial evidence, adequate tests, and sufficient information that showed the

safety and effectiveness of chemical abortion drugs under the labeled conditions of

use. As a result, the FDCA compelled the FDA to reject the Population Council’s

new drug application. The FDA’s failure to do so was arbitrary, capricious, an abuse

of discretion, and otherwise not in accordance with law.

        The FDA does not dispute that it lacked a single study for the 2016 Major

Changes that evaluated these interrelated changes as a whole or under the labeled

conditions of use—and, instead, argues it did not need one, especially in light of the

number of studies it cited in its decision. FDA Br. at 21–23. But the quality of the

studies matters more than their quantity.5 The FDCA required the FDA to compare


4 See, e.g., App. 337–41; App 891–895, Committee Opinion, ACOG, Methods for
Estimating the Due Date (May 2007); App. 896–902, Tommaso Bignardi et al., Is
Ultrasound the New Gold Standard for the Diagnosis of Ectopic Pregnancy?, 29
Seminars in Ultrasound, CT and MRI, no. 2, Apr. 2008, at 114.
5 The FDA incorrectly asserts that Plaintiffs do not challenge all of the studies on

which the agency relied. Compare FDA Br. at 22, with Pls. Br. at 19.


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the safety profile of the proposed sweeping changes against the current regimen.

Without this comparison, the FDA could not have possibly known if the 2016 Major

Changes were safe. The agency again thus lacked substantial evidence, adequate

tests, and sufficient information showing safety and effectiveness. And again, the

FDCA required the FDA to deny Danco’s supplemental new drug application.

       Finally, the FDA’s decision to remove the in-person dispensing requirement

in the 2021 Petition Response impermissibly relied on significantly flawed studies

and meaningless adverse event reports. Pls. Br. at 19–20. The FDA argues that it is

allowed to rely on such “imperfect data.” FDA Br. at 23. But the 2021 Petition

Response’s reliance on these studies has the FDA’s obligations under the FDCA

backwards: “Despite the limitations of the studies . . . the outcomes of these studies

are not inconsistent with our conclusion that . . . mifepristone will remain safe.”

App. 757 (emphasis added). Moreover, the FDA incorrectly asserts that “Plaintiffs

offer no explanation for why it was impermissible [for the FDA] to rely on the

reported [adverse event] data.” FDA Br. at 23. This assertion ignores and waives

any objection to the substantial shortcomings of the FAERS data that Plaintiffs

highlighted in their brief and complaint. See Pls. Br. at 20; App. 070–72.

      If the Court does not compel the FDA to comply with the FDCA, the agency

will continue to use flawed studies in pursuit of a politically driven abortion agenda.
      C.     The FDA’s actions violate longstanding federal criminal laws.
      All of the FDA’s actions at issue authorized the distribution of chemical

abortion drugs through means that violate longstanding federal criminal laws.

These federal laws explicitly prohibit the distribution of chemical abortion drugs by

mail, express company, or common carrier. See 18 U.S.C. §§ 1641, 1642. None of the

FDA’s arguments overcome the plain meaning and application of these laws.

      The FDA asserts that it need not “incorporate into its drug approvals

purported criminal-law restrictions on modes of transporting drugs.” FDA Br. at 28.


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But the FDA does not dispute that its 2000 Approval specifically required a

distribution plan that included the delivery of chemical abortion drugs by mail,

express company, or common carrier.6 Nor can the FDA dispute that its 2021 Non-

Enforcement Decision and 2021 Petition Response authorized mail-order chemical

abortions in direct violation of these federal criminal laws. See, e.g., App. 714–15.

        The FDA contends that these laws “could not constitutionally have been

enforced against the mailing of items for abortions.” FDA Br. at 28. But no court

ever enjoined the application of these laws to the distribution of chemical abortion

drugs. The Supreme Court’s prior precedent imposed only a balancing test, which

the FDA failed to perform. See Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833

(1992). Even more to the point, the APA requires federal agencies to act in

accordance with any law, and there is no constitutional obstacle to these laws.

Dobbs, 142 S. Ct. 2228. The FDA’s failure to acknowledge and address these laws,

at minimum, violated the APA.

        The FDA also relies on a failed congressional amendment and two floor

statements to claim that the agency could ignore these federal laws forever because

“Congress affirmatively endorsed mifepristone’s availability and distribution.” FDA

Br. 29–30. But the Supreme Court has warned that “repeals by implication are not

favored,” a court cannot find such repeals to have occurred “unless Congress’

intention to repeal is clear and manifest, or the two laws are irreconcilable.” Me.

Cmty. Health Options v. United States, 140 S. Ct. 1308, 1323 (2020) (cleaned up); see

also In re Lively, 717 F.3d 406, 410 (5th Cir. 2013) (“Repeals by implication are



6 See App. 036; App. 903–909, 2000 Letter from Danco to FDA at 155 (Jan. 21, 2000)
(sending FDA “a comprehensive distribution plan . . . at all points in the supply
chain”); see also Ex. 1C to FDA Br at 14 n.18 (conceding that “the FDA’s 2000
approval had resulted in the distribution of mifepristone to certified physicians
through the mail or by common carrier”).


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disfavored and will not be presumed unless the legislature’s intent is clear and

manifest.” (cleaned up)).

        Finally, the FDA relies on a memorandum issued by the U.S. Department of

Justice’s Office of Legal Counsel after the filing of this lawsuit, which asserts that

these longstanding federal laws did not mean what they say. The memorandum

claims that the proper interpretation of these laws is “narrower than a literal

reading might suggest.” FDA Br. 29–30; Ex. 1C to FDA Br. This is because

Congress supposedly “ratified the federal courts’ narrowing construction” of those

laws to address only “unlawful abortion” by failing to amend them. Id. The FDA

agrees with the strained argument that Congress “implicitly adopted” an atextual

interpretation of these laws. FDA Br. at 29. But congressional acquiescence

arguments are of limited persuasive value, and wholly irrelevant where, as here,

the prior judicial decisions (from lower federal courts of appeals no less) fail to

support the government’s “nonliteral” reading. This is especially true given that

congress addressed drugs used for “unlawful abortions” in a separate section of the

same statute and chose not to impose that limit on this section. It is thus not

surprising that many legal scholars have thoroughly refuted the OLC Memo.7

Regardless, the Court owes no deference to the OLC Memo. See Trump v. Vance,

941 F.3d 631, 645 (2d. Cir. 2019), aff’d and remanded, 140 S. Ct. 2412 (2020)

(quoting Pub. Citizen v. Burke, 843 F.2d 1473, 1478 (D.C. Cir. 1988)).
        D.    The FDA’s 2019 ANDA Approval was unlawful.
        The FDA did not respond to the merits of Plaintiffs’ challenge to the 2019

ANDA Approval and thus waived any objection. If the Court finds that the 2000


7See, e.g., Ed Whelan, Unreliable OLC Opinion on Mailing of Abortion Drugs—Part
2, National Review (Jan. 5, 2023), https://www.nationalreview.com/bench-
memos/unreliable-olc-opinion-on-mailing-of-abortion-drugs-part-2/; App. 910–923,
Legal Memorandum from The Heritage Foundation on The Justice Department is
Wrong: Federal Law Does Prohibit Mailing Abortion Drugs (Feb. 8, 2023).


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Approval and the 2016 Major Changes lacked the requisite safety and effectiveness

showings, it should withdraw the 2019 ANDA Approval. Pls. Br. at 21–23.
III.    Irreparable harm will continue unless this Court enjoins the FDA.
        Without an injunction, these dangerous drugs will result in physical

complications, emotional trauma, and death for women. App. 074–80. At least two

women died just last year8 and more will die without an injunction. Jones v. Tex.

Dep’t of Crim. Just., 880 F.3d 756, 760 (5th Cir. 2018) (finding “sufficient risk of

irreparable harm” because plaintiff could “suffer additional strokes, heart attacks,

and other life-threatening . . . complications”). Plaintiff doctors and medical

associations will need to continue to spend their limited time, energy, and resources

to deal with the tragic effects of these dangerous drugs. Id. at 080–93.

        Despite stonewalling Plaintiffs for over 16 years, the FDA musters the

temerity to assert that “Plaintiffs seek to upend longstanding agency action” for a

drug that “has been on the market for more than twenty years.” FDA Br. at 31. The

FDA then criticizes Plaintiffs for taking just eleven months to analyze every study

that the FDA has relied on, draft a detailed complaint, and submit the instant

motion. Indeed, the only “extreme delay” and “dilatory approach” in this case was

the FDA’s response to Plaintiffs’ citizen petitions—both of which the agency timed

to match significant changes to the chemical abortion regimen. Such agency

malfeasance cannot undermine Plaintiffs’ claims of irreparable harm.

        The substantial threat of harm that these drugs pose cannot be brushed aside

as “speculative” or untested in the face of the definitive examples from doctors who

have treated many women experiencing serious complications from the drugs. Even



8Carole Noviell, Abortion pill deaths, infant born alive linked to Indiana abortionist
suing to end state’s pro-life law, Live Action (Jan. 26, 2023, 8:43 AM),
https://www.liveaction.org/news/reported-abortion-pill-deaths-tied-indiana-
abortionist/.


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so, the FDA dismisses these harms by relying on its previous flawed studies and

imploring the Court to defer to the agency’s “expertise.” FDA Br. at 33–38. When

robust studies evaluate reliable datasets, however, the evidence shows that many

women experience serious adverse events after taking these drugs. App. 391–433.9

And the Court does not need to afford its typical deference to undisputedly political

agency actions. See Dep’t of Com. v. New York, 139 S. Ct. 2551 (2019).
IV.     The balance of the equities favors relief.
        Plaintiffs have shown a strong likelihood of success on the merits. There is a

strong public interest “in having governmental agencies abide by the federal laws

that govern their existence and operations.” Texas v. Biden, 10 F.4th 538, 559 (5th

Cir. 2021). And “[t]here is generally no public interest in the perpetuation of

unlawful agency action.” Id. at 560 (cleaned up). The “public interest weighs

strongly in favor of preventing unsafe drugs from entering the market.” Hill

Dermaceuticals, Inc. v. FDA, 524 F. Supp. 2d 5, 12 (D.D.C. 2007).

        The FDA failed to comply with the plain terms of its own regulations, the

FDCA’s strict safety requirements, and longstanding federal criminal laws when

approving unsafe chemical abortion drugs and removing commonsense

protections—irreparably injuring Plaintiffs and their patients. These harms must

outweigh any financial or reliance interests of the chemical abortion drug industry.

Despite the oft-repeated myth, childbirth is not more dangerous than abortion. App.

225–38.10 And Plaintiffs expect that many amici will file briefs elaborating on the


9 See also App. 924–940, Christina A. Cirucci, Self-Managed Medication Abortion:
Implications for Clinical Practice, Lincare Quarterly (Dec. 12, 2022) (discussing the
findings, data, and weaknesses of studies on which FDA relied).
10 See also App. 941–957, David C. Reardon & John M. Thorp, Pregnancy associated

death in record linkage studies relative to delivery, termination of pregnancy, and
natural losses: A systematic review with a narrative syntheseis and meta-analysis, 5
SAGE Open Medicine 1 (2017) (“[Abortion] associated mortality rates are higher



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broad harms of these drugs—including physical, psychological, financial, and

societal harms. In particular, the FDA’s appalling argument that society benefits

when chemical abortion drugs end the lives of children who may “have lower

earnings as adults, poorer health, and an increased likelihood of criminal

involvement,” Ex. 2 to FDA Br. ¶ 20, ignores the potential achievements and public

contributions of these children.11 Nor does the FDA recognize the many medical,

financial, and educational resources available to women to support them during

their pregnancies and after childbirth.12

      Women and girls have lost their lives, suffered physical injuries, and

experienced emotional trauma because of the FDA’s unlawful approval of chemical

abortion drugs. This must stop. The public interest so insists.

                                   CONCLUSION

      Plaintiffs request that the Court grant their motion for preliminary

injunction in full. The Court should withdraw both FDA approvals that allowed

mifepristone and misoprostol to be used as chemical abortion drugs. If a sponsor of

these drugs submits a new drug application, the FDA must conduct its review in

accordance with the FDCA and APA. And any approval must comply with the

longstanding federal criminal laws restricting the distribution of these drugs.




than birth associated mortality during the first 180 days and remains higher for six
or more years.”).
11 See, e.g., Cerith Gardiner, 6 Celebrities who were nearly aborted, Aleteia (July 11,

2022), https://aleteia.org/2022/07/11/6-celebrities-who-were-nearly-aborted/.
12 See, e.g., Michael J. New, Pregnancy Centers Offer Better Service Than Abortion

Facilities, a New Study Shows, National Review (Feb. 5, 2023, 10:48 PM),
https://www.nationalreview.com/corner/pregnancy-centers-offer-better-service-than-
abortion-facilities-a-new-study-shows/.


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